   Case: 1:18-cv-07686 Document #: 162 Filed: 06/05/19 Page 1 of 5 PageID #:2230



                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


                                                  Lead Case: 1:18-cv-07686

                                                  Honorable Thomas M. Durkin

                                                  Consolidated With:
 IN RE: LION AIR FLIGHT JT 610 CRASH
                                                  1:18-cv-08006         1:19-cv-01588
                                                  1:19-cv-00622         1:19-cv-01598
                                                  1:19-cv-00797         1:19-cv-01600
                                                  1:19-cv-00802         1:19-cv-01601
                                                  1:19-cv-01550         1:19-cv-01623
                                                  1:19-cv-01552         1:19-cv-01624
                                                  1:19-cv-01553         1:19-cv-01625
                                                  1:19-cv-01554         1:19-cv-01626
                                                  1:19-cv-01695         1:19-cv-01697
                                                  1:19-cv-01698         1:19-cv-01701
                                                  1:19-cv-01703         1:19-cv-01712
                                                  1:19-cv-01714         1:19-cv-01715
                                                  1:19-cv-01924         1:19-cv-01932
                                                  1:19-cv-01935         1:19-cv-01951
                                                  1:19-cv-01992         1:19-cv-02312
                                                  1:19-cv-02315         1:19-cv-02074
                                                  1:19-cv-02240         1:19-cv-02241
                                                  1:19-cv-02774         1:19-cv-02212
                                                  1:19-cv-02213         1:19-cv-02214
                                                  1:19-cv-02398         1:19-cv-02400
                                                  1:19-cv-02919         1:19-cv-02025
                                                  1:19-cv-02979         1:19-cv-02980
                                                  1:19-cv-02982         1:19-cv-02084
                                                  1:19-cv-02987


                                   NOTICE OF MOTION

       PLEASE TAKE NOTICE that on June 12, 2019 at 9:00 a.m., or as soon thereafter as

counsel may be heard, we will appear before the Honorable Thomas M. Durkin, or any judge

sitting in his stead, in Room 1441 of the Everett McKinley Dirksen Building, 219 South

Dearborn Street, Chicago, Illinois 60604, and present DEFENDANT THE BOEING
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COMPANY’S MOTION FOR REASSIGNMENT OF RELATED CASES, a copy of which

is also being served upon you.

                                                 Respectfully submitted,

                                                 THE BOEING COMPANY



                                                 By: s/ Bates McIntyre Larson
                                                      One of Its Attorneys



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                                  CERTIFICATE OF SERVICE

I, Bates McIntyre Larson, certify that on June 5, 2019, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which will notify the attorneys of record.



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 Case No. 19 cv 01715                              Case No. 19 cv 01698
 Case No. 19 cv 02240                              Case No. 19 cv 01701
 Case No. 19 cv 02241                              Case No. 19 cv 01703
                                                   Case No. 19 cv 02919


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I certify under penalty of perjury that the foregoing is true and correct.


DATED this 5th day of June, 2019.                  /s/ Bates M. Larson

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